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IN THE UNITED STATES DISTRICT COURT

 

 

FoR THE WESTERN DISTRICT 0F TENNESSEE "“`”-Eo pp
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) ' E""" H!s`
Plaintiff, )
)
vs ) cR. No. 04-20362_1)
)
JERRY RICE )
)
Defendant. )
oRDER To SURRENDER

 

The defendant, Jerry Rice, having been sentenced in the above case to the custody of the Bureau
of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Memphis
SCP, 1101 John A. Denie Rd., Memphis, Tenrlessee 38134 by 2:00 p.m. on THURSDAY, JUNE
30, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Rooni 242,
Mernphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the f/Q fd(,ay ofJune, 2005.

 

U ITED STATES DISTRICT .]UDGE

This docl_ment entered on the docket sheet |n com liance
wlth R.ile 55 and/or 321b) FHCrP on M_ 5 2

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CR-20362 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
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Ste. 200

l\/lernphis7 TN 38103

Stuart .l. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lernphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

